  Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 1 of 17




                         UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT


JOHN DOE,                                       :     CIVIL ACTION NO.
                                                :
                           Plaintiff,           :

V.                                              :
                                                :
THE HOTCHKISS SCHOOL,                           :
                                                :
                           Defendant.           :     FEBRUARY 5, 2015


                                        COMPLAINT

Introduction

      When the plaintiff was 14 years old he was entrusted to the care and

supervision of The Hotchkiss School, a private boarding school in Lakeville,

Connecticut. The school promised, and John trusted, that the school would do

everything in its power to keep him safe from harm. Hotchkiss betrayed that trust.

Instead of a safe and secure community, John entered an environment of well-

known and tolerated sexual assaults, sexually violent hazing, and pedophilia.

Upper classmen – including school-appointed senior dormitory proctors – assaulted

him by forcibly removing his pants and underwear, hitting his buttocks and genitals,

and sticking objects in his anus. A male teacher, who was a master in John’s

dormitory, fondled John’s genitals, and later drugged and anally raped him. These
     Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 2 of 17




horrifying acts and others were inflicted on school property, during the school year,

and under the noses of the school’s teachers and administrators. John Doe brings

this Complaint to seek recompense for the injuries and life-long suffering The

Hotchkiss School inflicted on him and to shine a light on these and similar events

so that the wrongdoers may be held accountable and justice may be done.


I.       Jurisdiction and Venue

         1.    Jurisdiction obtains pursuant to 28 U.S.C. § 1332(a).

         2.    The plaintiff resides in and is a citizen of the State of New York.

         3.    The defendant is a non-stock corporation formed pursuant to the laws

of the State of Connecticut with its principal place of business in the State of

Connecticut.

         4.    The amount in controversy vastly exceeds $75,000.00, exclusive of

interest and costs.

         5.    Venue lies in this District pursuant to 28 U.S.C. § 1391(a) in that the

defendant resides in this District and the events, acts and omissions giving rise to

the plaintiff’s claims occurred in this District.

         6.    The defendant’s negligent acts and omissions occurred while the

plaintiff was a minor, the action is brought within 30 years from the date the plaintiff

attained the age of majority, and this action seeks damages caused by sexual




                                                2
      Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 3 of 17




abuse, sexual exploitation and sexual assault; accordingly, this Complaint is timely

filed pursuant to Connecticut General Statutes § 52-577d.


II.       Parties

          7.    John Doe attended The Hotchkiss School as a boarding student in

the 1980’s beginning when he was 14 years old.

          8.    The Hotchkiss School, founded in 1891, is a private college-

preparatory boarding school for grades nine through 12 located in Lakeville,

Connecticut.



III.      First Claim for Relief (Negligence)

          9.    At the time of the sexual assaults described in this Complaint, The

Hotchkiss School charged many thousands of dollars per year for the privilege of

attending the school and residing in a dormitory on school grounds.

          10.   In exchange for the substantial monetary compensation charged for

the attendance and residence of John and the other minor children in the school’s

care and custody, Hotchkiss assumed responsibility for, among other things, the

students’ protection, safety and well-being.

          11.   The school promised John that the health and welfare of the students

was the school’s highest priority.




                                                3
  Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 4 of 17




       12.    The school accepted a duty to John and to the other minor children in

its care and custody to do everything within its power to protect them from sexual

abuse by other students and by the school’s faculty; and even prior to John

choosing to attend the school, Hotchkiss’s admissions director promised him that

rules prohibiting consensual and non-consensual sexual activity were strictly

enforced.

       13.    The school agreed that it had a duty and responsibility to keep the

children in its care and custody safe from harm.

       14.    Notwithstanding these duties, responsibilities and promises, at the

time that John entered and attended The Hotchkiss School, the school and its

teachers and administrators knew that there was a history and tradition at the

school of older male students, including students 18 years of age and older,

subjecting younger students to sexualized hazing.

       15.    The history and tradition of hazing, which was not disclosed to John at

any time prior to his arrival at the school, included upper classmen inflicting

sexualized assaults on younger students, including paddling the younger students

on their naked buttocks with wooden paddles and other humiliating and

traumatizing forcible sexualized touching.




                                             4
  Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 5 of 17




       16.     The school and its teachers and administrators permitted and

condoned the tradition of hazing, and they allowed the sexual assaults to occur

without punishment and without even a meaningful threat of punishment.

       17.     As a result of the school’s encouragement of the tradition of

sexualized hazing, and its failure to prevent such assaults and to punish the

perpetrators, upper classmen sexually assaulted John multiple times.

       18.     At the times John was assaulted, he was 14 years old and he was

slight in stature.

       19.     The assaults were inflicted by groups of school-appointed senior

dormitory proctors.

       20.     During these assaults, the proctors, rooted on by others, forced John

to lower his pants and underwear to his ankles and to bend over, they hit his naked

buttocks and testicles repeatedly with a wooden paddle, and they forcibly inserted

objects into his anus.

       21.     The assaults caused John to suffer severe physical pain and

humiliation.

       22.     John reported the sexual assaults to his faculty dormitory corridor

master, who told John to try to earn the respect of the older students who were

assaulting him.




                                             5
  Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 6 of 17




        23.   The corridor master also told John that complaining about the hazing

and assaults would not be a good start for John’s reputation at the school.

        24.   The Hotchkiss Assistant Headmaster, after learning of the assaults,

asked John if his bottom was feeling better. Other than making that one comment,

the Assistant Headmaster did nothing in response to the assaults.

        25.   Also notwithstanding the school’s duties, responsibilities and promises

to keep John safe from harm, at the time that he entered and attended The

Hotchkiss School, the school and its teachers and administrators knew, and should

have known, that at least one of the school’s male teachers and dormitory masters

was a pedophile.

        26.   The school knew and should have known that teacher and dormitory

master Roy G. Smith, Jr. a/k/a “Uncle Roy”, was sexually attracted to pubescent

boys.

        27.   At the time John entered The Hotchkiss School, Smith had been

employed by the school for many years.

        28.   Smith resided in an apartment connected to the dormitory to which

John was assigned when he was 15 years old.

        29.   During Smith’s tenure at the school, including prior to and during the

time John was exposed to Smith, the school knew and should have known that

Smith held and expressed sexualized feelings about the minor boys in his care.




                                            6
  Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 7 of 17




      30.     During Smith’s tenure at the school, including prior to and during the

time John was exposed to Smith, the school knew and should have known that

Smith frequently discussed schoolboy homosexuality and homo-erotic topics with

male students in his apartment at night.

      31.     Prior to and during the time that John was exposed to Smith, Smith

also worked in an athletic training room near the boys’ locker room in the gym, a job

which allowed Smith to inspect, massage, touch and leer at the naked and partially

naked bodies of young school boys.

      32.     In his capacity with the Hotchkiss School athletic department, before

and during the time that John was exposed to him, Smith frequently did inspect,

massage, touch and leer at the naked and partially naked bodies of young

schoolboys.

      33.     John was a member of the school’s athletic teams, and, as such, was

exposed to Smith in Smith’s capacity with Hotchkiss’s athletics programs.

      34.     On several occasions, Smith inspected, massaged and fondled John

in inappropriate and sexualized ways, including on several occasions reaching into

John’s shorts and touching John’s penis and scrotum.

      35.     These sexual assaults occurred in several places on school grounds,

including in the athletic center and in Roy Smith’s Hotchkiss apartment.




                                            7
  Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 8 of 17




      36.    When John was 15 years old, Roy Smith went further: he invited John

into his apartment in the late evening hours, drugged John into semi-

unconsciousness with a pill that he misrepresented as an aspirin, and anally raped

John while he was helpless and alone.

      37.    John came to during the rape, groggy and impaired, with his pants

and underwear around his feet, face down on Smith’s sofa, with Smith over him

pushing himself into John’s anus.

      38.    When John became more fully conscious, he pulled up his pants,

stumbled out into the dormitory hallway, then to a dorm bathroom where he

vomited, and then returned to his dorm room.

      39.    At the time that The Hotchkiss School exposed John to “Uncle Roy”

Smith, it was on actual and constructive notice that Smith desired young boys and

had acted on his desires in the past by engaging young boys in sexualized

conversation and by touching young boys in inappropriate and sexual ways.

      40.    The school’s affirmative acts – including housing Smith in and giving

him unfettered access to and authority over a boys’ dormitory, allowing him

unsupervised access to vulnerable young children, and allowing him to work in the

athletics program and locker room areas where he was able to touch and leer at the

naked and partially-clothed bodies of pubescent boys – created, and exposed John

to, a known high degree of risk of harm.




                                           8
  Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 9 of 17




        41.   The school was on actual and constructive notice of Smith’s aberrant

character, past conduct, and tendencies.

        42.   The school was on actual and constructive notice of the temptation

and opportunity afforded to Smith for molesting young boys.

        43.   The school was on actual and constructive notice of the gravity of the

harm that would result if Smith molested one or more of the boys in the school’s

care and custody.

        44.   The school knew that no other person or entity would assume the

responsibility for preventing Smith from molesting young boys.

        45.   Even if the school had not been on actual or constructive notice of the

past aberrant behavior and propensities of “Uncle Roy”, it knew and should have

known that housing adult males who are sexually attracted to pubescent

schoolboys with, and giving them unrestricted access to, a never-ending community

of young vulnerable boys created a high degree of risk of inappropriate and

sexualized behavior.

        46.   Thus, the school created a situation that it knew and should have

known was likely to be dangerous to John and to the other young children in its

care.

        47.   Despite having created the dangerous situation, the school failed and

refused to take appropriate precautions against the risk of harm.




                                            9
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 10 of 17




      48.    According to a published biography of The Hotchkiss School authored

by Hotchkiss alumni and based on written and taped interviews in the school’s

archives of former students and faculty, Smith was not the only Hotchkiss teacher

who had sexually abused and assaulted young boys on school property before

John attended The Hotchkiss School.

      49.    After being anally raped by Roy Smith, John reported the rape to

Hotchkiss School teachers, staff and administrators.

      50.    John reported both the hazing sexual abuse and the rape by “Uncle

Roy” to a school health services counselor from whom John was seeking care and

treatment for the trauma that had been inflicted on him.

      51.    The counselor took no steps to protect John and other vulnerable

children from further assaults by Smith, she took no steps to hold Smith

accountable for raping a young boy, and she took no steps to protect John and

other vulnerable children from further sexual hazing.

      52.    John also reported the rape to his faculty advisor, and he confided in

his advisor the extreme confusion and mental suffering he was experiencing as a

result of “Uncle Roy’s” abuse.

      53.    John’s advisor took no steps to protect John and other vulnerable

children from further assaults by Smith, and took no steps to hold Smith

accountable for raping a young boy; rather, the advisor dismissed John’s concerns.




                                           10
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 11 of 17




      54.     After “Uncle Roy” raped John, John wrote an article intended for the

student newspaper, discussing the failure of the school’s mental health counselors,

faculty and administrators to respond appropriately to students’ complaints,

including John’s complaints of having been sexually assaulted by the proctors and

by “Uncle Roy”. John gave a copy of the proposed article to the school’s

headmaster.

      55.     The headmaster told John that he was already aware of John’s

complaints, he took no steps to protect John and other vulnerable children from

further assaults by Smith, and he took no steps to hold Smith accountable for

raping a young boy.

      56.     Instead, the headmaster forbade John from publishing the article, and

he conspired to prevent John from informing the students, their parents and the

school community about Smith’s sexual assault and his aberrant and predatory

propensities and behavior.

      57.     Among other wrongful acts in furtherance of his efforts to hide the

rape and to bury Smith’s history of sexually molesting young boys at the school, the

headmaster threatened to tell John’s parents that John was homosexual if he

complained publicly about the rape.




                                           11
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 12 of 17




        58.   As a result of The Hotchkiss School’s acts and omissions, John’s

ability to engage in normal life’s activities has been permanently impaired and he

has been and will be unable to lead and enjoy a normal life.

        59.   The harm inflicted on John as a young vulnerable boy at The

Hotchkiss School has adversely affected his ability to enter into and maintain

lasting meaningful relationships with others.

        60.   John’s ability to maintain intimate physical, sexual and emotional

relationships with other human beings has been irreparably damaged.

        61.   As a result of the defendant’s negligence, John has sustained

physical pain and suffering.

        62.   As a result of the defendant’s negligence, John has sustained, and

will continue over the course of his lifetime to suffer, severe emotional distress and

mental pain and anguish.

        63.   John’s injuries and damages were caused by the negligence of The

Hotchkiss School, its teachers, administrators, employees and agents, for whose

negligence the school is liable, in the ways previously described and in the following

ways:

              a.     The school, by commission and omission, allowed and

                     encouraged a tradition of hazing of young boys by upper




                                            12
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 13 of 17




                     classmen, including hazing that consisted of sexual assaults

                     and humiliation;

               b.    The school, by commission and omission, failed and refused to

                     train and supervise school teachers and other school

                     employees, including “Uncle Roy” Smith;

               c.    The school hired teachers and other employees, including

                     Smith, despite actual or constructive knowledge of their

                     propensity and desire to molest young boys;

               d.    The school retained teachers and other employees, including

                     Smith, despite actual or constructive knowledge of their

                     propensity and desire to molest young boys; and

               e.    The school failed to warn John of the risk of harm to which he

                     was subjected while attending The Hotchkiss School.

       64.     The Hotchkiss School owed John a duty of care, it breached that duty,

its breach caused John to be assaulted and molested, and John suffered damages

as a result.



IV.    Second Claim for Relief (Recklessness)


       1.      Paragraphs 1 through 64 of the First Claim for Relief are hereby

incorporated as Paragraph 1 of this Second Claim for Relief, as if fully set forth




                                            13
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 14 of 17




herein.

        2.    The Hotchkiss School, acting through its administrators, teachers and

staff, was consciously aware of the fact that it created a substantial risk to John

Doe.

        3.    Notwithstanding the school’s conscious awareness of the risk to John,

the school failed to take necessary and appropriate steps to reduce or eliminate the

risk.

        4.    Notwithstanding the school’s conscious awareness of the risk to John,

the school took affirmative steps to exacerbate the risk and to make harm and

injury to John more likely.

        5.    The injuries suffered by John were caused by the reckless or callous

indifference, or the wanton misconduct, of the defendant.



V.      Third Claim for Relief (Negligent Infliction of Emotional Distress)

        1.    Paragraphs 1 through 64 of the First Claim for Relief are hereby

incorporated as Paragraph 1 of this Third Claim for Relief, as if fully set forth herein.

        2.    The Hotchkiss School created an unreasonable risk of causing John

Doe emotional distress.

        3.    John's distress was foreseeable.

        4.    The emotional distress was severe enough that it might result in




                                             14
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 15 of 17




illness or bodily harm.

       5.     The school's conduct was the cause of John’s distress.



VI.    Fourth Claim for Relief (Intentional Infliction of Emotional Distress)

       1.     Paragraphs 1 through 64 of the First Claim for Relief are hereby

incorporated as Paragraph 1 of this Fourth Claim for Relief, as if fully set forth

herein.

       2.     The Hotchkiss School intended to inflict emotional distress or it knew

or should have known that emotional distress was the likely result of its conduct.

       3.     The school’s conduct was extreme and outrageous.

       4.     The school’s conduct was the cause of John’s distress.

       5.     The emotional distress sustained by John was severe.



VII.   Fifth Claim for Relief (Breach of Fiduciary Duty)

       1.     Paragraphs 1 through 64 of the First Claim for Relief are hereby

incorporated as Paragraph 1 of this Fifth Claim for Relief, as if fully set forth herein.

       2.     A fiduciary relationship existed between The Hotchkiss School and

John Doe which gave rise to (a) a duty of loyalty on the part of the defendant to the

plaintiff, (b) an obligation on the part of the defendant to act in the best interests of

the plaintiff, and (c) an obligation on the part of the defendant to act in good faith in




                                              15
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 16 of 17




any manner relating to the plaintiff.

        3.     The school advanced its own interests to the detriment of the plaintiff.

        4.     John has sustained damages.

        5.     John’s damages were proximately caused by the school's breach of

its fiduciary duty.




VIII.   Prayer for Relief

        Wherefore, the plaintiff prays for the following relief:

        1.     Compensatory damages;

        2.     Punitive damages; and

        3.     Such other relief as the Court deems just and proper.




                                            PLAINTIFF



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                                              16
 Case 3:15-cv-00160-VAB Document 1 Filed 02/05/15 Page 17 of 17




                       UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT


JOHN DOE,                                        :       CIVIL ACTION NO.
                                                 :
                           Plaintiff,            :

V.                                               :
                                                 :
THE HOTCHKISS SCHOOL,                            :
                                                 :
                           Defendant.            :       FEBRUARY 5, 2015



                             CLAIM FOR JURY TRIAL

     Plaintiff, through counsel, claims this matter for trial by jury.



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                                            17
